                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

JOHN DOE,                                     )
                                              )
        Plaintiff,                            )
                                              )
v.                                            )      Case No.: 3:17-cv-01245
                                              )      CHIEF JUDGE CRENSHAW
                                              )
BELMONT UNIVERSITY,                           )
                                              )
        Defendant.                            )

     MOTION IN LIMINE TO EXCLUDE EVIDENCE OF PLAINTIFF’S NEW LEGAL
                         THEORY OF NEGLIGENCE

        Defendant, Belmont University (“Belmont”), hereby submits its Memorandum in Support of

Motion in Limine to exclude evidence regarding the new legal theory that Plaintiff advanced, for the

first time, during his summary judgment briefing. Pursuant to Federal Rule of Civil Procedure

37(c)(1), any evidence to support this new legal theory should be excluded during trial.

        I.        Background

        Plaintiff’s negligence cause of action is based on the theory raised in his Complaint that

Belmont “owed a duty of care to John Doe to conduct [the disciplinary] process in a non-negligent

way” and that “Belmont University failed to perform the duty of care owed to Doe.” [Doc No. 1,

at ¶¶ 149-151].

        In discovery, Belmont asked Plaintiff to identify, and produce documents, “to establish the

standard of care owed by Belmont, or the breach thereof as alleged in Counts V, VI, VII and VIII

of the Complaint.”      [Belmont’s First Set of Interrogatory and Requests for Production of

Documents, Exhibit A]. Plaintiff did not produce any documents in response to this request, and

responded only that, “Plaintiff will rely on the Bruin Guide, Title IX, Belmont’s standard of




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practice and any relevant case-law to establish the standard of care.” [Plaintiff’s Supplemental

Discovery Responses, Exhibit B].

        During Plaintiff’s deposition, Defense counsel asked Plaintiff to identify any way that

Belmont was allegedly negligent in its handling of Plaintiff’s Title VII claim. [Pl. Dep. 242:2-

16]. Specifically, counsel for Belmont asked, and Plaintiff responded, as follows:

       Q. And is there a specific area in which they did not exercise the care you feel
       like they should have that forms the basis for your claim?

       A. Yes sir, with the sanctions that they assigned to me.

       Q. You feel like those sanctions were not merited?

       A. Correct.

       Q. Anything else?

       A. What was the original question? Sorry.

       Q. Is there any other specific breach of care that you contend Belmont engaged in
       regarding your negligence claim?

       A. No sir, not that I can think of.

[Pl. Dep. 242:2-16]. Plaintiff testified that, when he was notified about the charges brought

against him, he was instructed by Zlock to review the Sexual Misconduct policy [Pl. Dep. 31:5-

8], that Plaintiff did, in fact, review the policy “multiple times” [Pl. Dep. 31:11-17], that Plaintiff

received training on the sexual misconduct policy [Pl. Dep. 31:24-32:2], that Plaintiff accessed

this policy in the Bruin Guide on the internet [Pl. Dep. 33:20-34:3], and that Belmont’s handling

of his sexual misconduct charges was entirely consistent with what he read in the Bruin Guide.

[Pl. Dep. 43:5-7].

       In Defendant’s Motion for Summary Judgment, Defendant points out that Plaintiff

acknowledged that the process used by Belmont was proper and consistent with what he




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reviewed in the Bruin Guide. [Dkt. No. 45]. In addition, Belmont noted that Plaintiff testified

that the only breach of care committed by Belmont was that it issued sanctions to him. [Id.]

       In Plaintiff’s Response Brief, Plaintiff changed his legal theory with respect to his

negligent cause of action and raised a brand new legal theory of negligence. Specifically,

Plaintiff claimed, for the first time, that there were two different versions of the Bruin Guide, that

the two versions of the Bruin Guide contained different language with respect to the Sexual

Misconduct Policy, that Plaintiff relied on a so-called “magazine version” of the Sexual

Misconduct Policy, and that Belmont “breached its duty to clearly state such an important policy

and to ensure that the policy itself does not confuse or confound those that are bound by it.”

[Dkt. No. 50, pp. 18-19].

       II.     Argument

       Rule 37(c)(1) of the Federal Rules of Civil Procedure provides that if a party fails to

provide information as required by Rule 26(a) or (e), the party is not allowed to use that

information at a trial unless the failure was substantially justified or is harmless. Accordingly,

courts routinely grant motions in limine to exclude legal theories that were not disclosed during

the discovery process. Franklin American Mortgage Corp. v. First Educators Credit Union,

2013 WL 5637033 (M.D. Tenn. 2013) (granting defendant’s motion in limine to exclude

plaintiff’s new disclosed theory); Shaltry v. City of Saginaw, 2010 WL 2104956 (E.D. Mich.

2010) (granting defendant’s motion in limine to exclude plaintiff’s new theory of damages).

       In Franklin, defendant served contention interrogatories on plaintiff, asking plaintiff to

identify “each and every breach of contractual obligation … that you claim First Educators

committed.” Id. at *1. In response, Plaintiff disclosed three contractual provisions breached by

Defendant. Subsequently, in Plaintiff’s motion for partial summary judgment, it advanced an




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additional breach of contract that claim that it did not identify in its Complaint or discovery

responses. Id. The district court for the Middle District of Tennessee granted Defendant’s

motion in limine to exclude Plaintiff’s new undisclosed theory. The court held,

         Since this claim by Franklin American was not disclosed until after the deadlines
         for completion of discovery, the undersigned Magistrate Judge finds that to allow
         Franklin American to assert this claimed breach of contract at trial would
         materially prejudice First Educators.

Id. at *3.

         Here, Plaintiff did not disclose that he allegedly relied on two different versions of the

Bruin Guide until his Summary Judgment briefing – despite that fact that he was served with

discovery requests, and asked deposition questions, that should have elicited discovery responses

and deposition testimony about this theory.

         Defendant would be materially prejudiced if Plaintiff could advance this new theory of

negligence at trial. Defendant has been precluded from seeking discovery about this alleged

theory, and entirely thwarted in any efforts it could have taken to mount a defense to Plaintiff’s

newly disclosed theory of liability.       Accordingly, Defendant requests that this Court enter an

Order excluding any evidence referencing Plaintiff’s new legal theory.

         III.   Conclusion

         For the foregoing reasons, Defendant respectfully requests the Court exclude evidence

related to Plaintiff’s newly disclosed legal theory at trial.




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       Respectfully submitted on March 11, 2019.


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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 11th day of March 2019, the foregoing was filed electronically

with the Clerk of Court to be served by operation of the Court’s electronic filing system upon the

following counsel of record:

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